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IN THE UNITED sTATEs DISTRICT CoURT `-“ii`D tii"\SL D a
FoR THE wEsTERN DISTRICT oF TENNESSEE ’(/'
Eastern Division

 

 

 

WILLIAM MABRY §
§
Piaimiff, §
§
vs. § CaSe No. 1»05-1 123-T-An
§
UNUM LIFE INSURANCE COMPANY §
OF AMERICA §
§
Defendant. §
§
J()INT SCHEDULING ORDER

 

In accordance With the Rule 26(£) Report of Parties’ Planning Meeting, and the
Court’s case management conference, the following is established for this case:

l. This Court has subject matter jurisdiction of this civil action pursuant to
the civil enforcement provision of ERISA, 29 U.S.C. l l32(e)(l).

2. In this action, Plaintift` has brought an ERISA claim for benefits, attorneys
fees, and costs. Defendant has denied responsibility for any of these benefits, fees, or
costs.

3. The parties agree that, With certain limited exceptions, civil actions for
plan benefits under ERlSA are generally resolved upon the parties’ motions for judgment
based upon the existing administrative record. Therefore, the parties do not anticipate
submitting Rule 26(a) disclosures, propounding discovery, or responding to Written

discovery.

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4. At this juncture, Defendant has not Submitted the administrative record to
either the Plaintiff or the Court for inspection Accordingly, the Defendant shall submit
the administrative record by filing same with the Court and a copy to opposing counsel
no later than August 15, 2005, Plaintiff shall then have a reasonable opportunity to
inspect the administrative record to determine whether Plaintiff contends discovery is
warranted If Plaintiff believes discovery is required, Plaintiff shall submit a Written
motion to the Court explaining the basis for said discovery no later than October l, 2005.
The Defendant will have fifteen (15) days thereafter to respond to Plaintiff’ s motion.

5. ln the event that no further discovery is necessary and in lieu of a trial, the
parties shall each file motions for judgment by November 15, 2005. Response briefs
shall be due December 15, 2005. In the event either party Wishes to file a reply brief,

leave of court must be obtained

IT IS SO ORDERED ON THIS /ld;H" DAY OF ;&] , 2005.

iam 4a amf

JUDGE THOMAS ANDERSON

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01123 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed

 

 

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Honorable J ames Todd
US DISTRICT COURT

